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VICTOR SHERMAN ES . (State Bar No.: 38483)
LAW OFIj`ICES OF VICT R_ SI-[ERMAN

A Professlonal Law_ Corporatlon

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Los Angeles, al1 orn1a 90012

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Tele: §3103399- 259
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Attorne s for Clairnant
MANU LA GOMEZ

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED sTATEs oF AMERICA, ease No.: 2;17-Cv-00399-TJH-JC
Plaimiff, cLAIMANT MANUELA GoMEz’s
ANSWER To coMPLAlNT FoR
v. FoRFEITURE
$l46,780.00 in U.S. Currency,

Defendant.

 

MANUELA GOMEZ,

Clairnant.

 

Claimant, Manuela Gomez, hereby answers the Complaint for Forfeiture in
the above-entitled matter as follows:

l. Answering paragraph 1 of the Complaint, claimant admits the
allegations contained therein.

2. Answering paragraph 2 of the Complaint, claimant admits the
allegations contained therein.

3. Answering paragraph 3 of the Complaint, claimant admits the
allegations contained therein.

4. Answering paragraph 4 of the Complaint, claimant admits the

allegations contained therein.

 

 

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5 . Answering paragraph 5 of the Complaint, claimant admits the
allegations contained therein,

6. Answering paragraph 6 of the Complaint, claimant admits the
allegations contained therein.

7. Answering paragraph 7 of the Complaint, claimant admits the
allegations contained therein.

8. Answering paragraph 8 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein.

9. Answering paragraph 9 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein,

10. Answering paragraph 10 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein,

11. Answering paragraph 11 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein.

12. Answering paragraph 12 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein.

13. Answering paragraph 13 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein,

14. Answering paragraph 14 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein.

15. Answering paragraph 15 of the Complaint, claimant has insufficient

information or belief to answer the allegations contained therein, and based
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thereon, denies each and every allegation contained therein.

16. Answering paragraph 16 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein,

17. Answering paragraph 17 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon,' denies each and every allegation contained therein.

18. Answering paragraph 18 of the Complaint, claimant has insufficient
information or belief to answer the allegations contained therein, and based
thereon, denies each and every allegation contained therein.

FOR A SECOND. SEPARATE AND FURTHER
ANSWER AND FIRST AFFIRMATIVE DEFENSE.
THIS ANSWERING COMPLAINT ALLEGES:
k 19. The Complaint fails to state a claim against the defendant property
upon which relief can be granted.
FOR A THIRD SEPARATE AND FURTHER
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20. The seizure statute violates due process of law under the Fifth

 

Amendment to the United States Constitution because it is unconstitutionally vague
and authorizes the arrest of property without prior authorization by a disinterested
judicial officer, prior notice, or an opportunity to be heard on the probable validity
of the claim, and authorizes the taking of personal property without just
compensation in violation of the Eminent Domain Clause of the Fifch Amendment
to the United States Constitution.

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FOR A FOURTH SEPARATE AND FURTHER
ANSWER AND THIRD AFFIRMATIVE DEFENSE
THIS ANSWERING CLAIMANT ALLEGES: -

21. The seizure of the defendant property was based on an unlawful search

 

 

and seizure by state and/or federal authorities in violation of the Fourth
Amendment to the United States Constitution.
FOR A FIFTH SEPARATE AND FURTHER
ANSWER AND FOUR AFFIRMATIVE DEFENSE
THIS ANSWERING CLAIMANT ALLEGES:
22. The forfeiture statute is void and unenforceable under the United
States Constitution, Article III, Section 3, cl.2
FOR A SIXTH SEPARATE AND FURTHER
ANSWER AND FIFTH AFFIRMATIVE DEFENSE
THIS ANSWERING CLAIMANT ALLEGES:

23. Defendant is not subject to forfeiture because any alleged acts or uses

 

 

 

 

involving said property in violation of law were committed without the knowledge
of consent of claimant, and claimant is an innocent owner of the defendant
FOR A SEVENTH SEPARATE AND FURTHER
ANSWER AND SIXTH AFFIRMATIVE DEFENSE.
THIS ANSWERING CLAIMANT ALLEGES:

24. The seizure and forfeiture of the claimant’s interest in the defendant

 

property is void and unenforceable under the Eighth Amendment to the United
States Constitution as an excessive fine or punishment
FOR AN EIGHTH SEPARATE AND FURTHER

ANSWER AND SEVENTH AFFIRMATIVE DEFENSE,
THIS ANSWERING CLAIMANT ALLEGES:

25. The forfeiture statutes are void and unenforceable under the Due

 

Process Clause of the Fifth Amendment to the United States Constitution because

they impermissibly permit a burden of proof of mere probable cause for the
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plaintiff and shift the burden of proof at the forfeiture trial to the claimant
WHEREFORE, this answering party claimant respectfully prays:
l. That plaintiff United States of America take nothing by its Compliant;
3. That the defendant property be returned to claimant forthwith;
4. That the Court award claimant his reasonable costs and attorney’s fees
incurred herein under the Equal Access to Justice Act;
5. That the Court rule on all of the constitutional questions raised by this
pleading and issue its findings of fact and conclusions of law; and
6. For such other and further relief as the Court may deem just and
proper.
DATED: MarchZ’! 2017 Respectfully submitted,

By:

 

Attorne for Claimant
Manuela Gomez

 

 

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PROOF ()F SERVICE

STATE OF CALIFORNIA
ss.
COUNTY OF LOS ANGELES

1 am em lo ed in the County of Los_Angele_s, State of California and am
over the age o 1 and not a p_arty to the w1th1n action. My buslness address is
2115 Mam Street, Santa Momca, California 90405.

On MarchZ,72017, I served the foregoing document described as:

cLAIMANT MANUELA GoMEz’s ANSWER To coMPLAINT To
FoRFEITUliE

on all interested parties in this action by placing a true copy in a sealed envelope
addressed as follows:

Christen A. S_proule

Asslstant United States Attomey
312 North Sprin Street

Los Angeles, C 90012

I caused such envelope to be sent in the U.S. Mail with prepaid postage _
affixed from Santa Monlca Califomia_to the above addressee._ l am employed 1n
thedoffice of a member of the Bar of thls Court at whose directlon the service was
ma e.

I declare under penalt of perjury, under the laws of the State of Califomia,
that the foregoin is true an correct except as to those_ matters stated on
information an or belief, and as to those matters, I believe them to be true' and
that this Declaration was executed at Santa Monica, Californla on MarchZ'Z 2017.

~`

 

UZORI B. STANTON

 

 

